      Case 4:22-cv-00546-JSW          Document 66       Filed 02/14/25     Page 1 of 1



 1                                UNITED STATES DISTRICT COURT

 2                               NORTHERN DISTRICT OF CALIFORNIA

 3   DAVID A. STEBBINS,                                ) Case No.: 4:22-cv-00546-JSW
                                                       )
 4                  Plaintiff,                         ) [PROPOSED] ORDER GRANTING
                                                       ) DEFENDANT YOUTUBE, LLC’S
 5          v.                                         ) ADMINISTRATIVE MOTION TO
                                                       ) CONTINUE INITIAL CASE
 6   ALPHABET INC. et al.,                             ) MANAGEMENT CONFERENCE AND
                                                       ) ASSOCIATED DEADLINES
 7                  Defendants.                        ) PENDING RESOLUTION OF
                                                       ) YOUTUBE’S MOTION TO DISMISS
 8                                                     )
                                                       ) Action Filed: January 27, 2022
 9                                                     )
                                                       ) Re: Dkt. No. 63
10

11
            Upon consideration of Defendant YouTube, LLC’s Administrative Motion to Continue the
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     Initial Case Management Conference, including all associated deadlines, pending resolution of
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     YouTube’s Motion to Dismiss (ECF No. 58), and upon good cause showing, it is hereby
14
     ORDERED as follows:
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                 1. The Initial Case Management Conference currently scheduled for February 28,
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                    2025, at 11:00 a.m. PT, and all associated deadlines, are hereby CONTINUED. The
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                    court will reschedule the Initial Case Management Conference, if necessary, after
18
                    ruling on YouTube’s Motion to Dismiss.
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20
     IT IS SO ORDERED
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22
     Dated: _February 14, 2025_________                         ______________________________
23                                                              HON. JEFFREY S. WHITE
                                                                United States District Judge
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28
     [PROPOSED] ORDER GRANTING MOTION TO CONTINUE                          CASE NO.: 4:22-CV-00546-JSW
     INITIAL CASE MANAGEMENT CONFERENCE AND
     ASSOCIATED DEADLINES
